
The following rule was this day made, by the court, in the case of John Beckley, the clerk of this court, and of the high court of .chancery.
‘‘Rule. Mr. John Beckley, the clerk of this court, having neglected to attend his duty yesterday and this day; and it appearing that the said Mr. Beckley, as clerk of the high court of chancery, hath failed to furnish, when required, a transcript of the record in the appeal of Hite and others against lord Fairfax, which was depending and undetermined, before the king in council, in order for the prosecution of the said appeal in this court, It is ordered, that unless the said Mr. Beckley shall, at the next session of this court, make a reasonable excuse for such his conduct, the same shall then be animadverted upon, ’till which time, the consideration of a proper allowance to be made him, as clerk of this court, is suspended.”
And, in March 1781, the following rule of discharge was entered.
“Rule. Mr. John Beckley, clerk of this court, agreeable to an order of the last court, offered the reasons for his non-attendance at that time, which being deemed satisfactory by the court, It is ordered that the rule against him be discharged.”
